Case 4:19-cr-00047-DJN-LRL Document 1644 Filed 04/22/21 Page 1 of 3 PagelD# 10576

SENTENCING MINUTES .
DATE:APRI |. Am 2021 Case NuMBER: 4I9CROOH'T- 2 ( pa)
JUDGE: Novak CT REPORTER: Tracy Stroh, OCR

INTERPRETER: Woh ANE Benning Ed, Spawwis

UNITED STATES OF AMERICA i eVITL P Huoson_, ausa

v. a rreLo- -- COUNSEL

bank HEQN AnvEZ Gacqory K. MatHEWS Esa.
n ~(.) Criminal Information hun

SENTENCING ON COUNTS: b> ___(._ ) Indictment ( Vf Superseding Ind.

PRELIMINARY MATTERS: _NOob)

ecfons to PSRL

OBJECTIONS TO Psr: ADOPTED

STATEMENTS MADE BY: GOV’T ( DEFENSE COUNSEL ( DEFT, ef

ON MOTION OF GOV’T, (_) INDICTMENT «A REMAINING CTS. DISMISSED.

DEFENDANT TO VOLUNTARILY REPORT TO DESIGNATED INSTITUTION

ON: BY:
( .) IF NO DESIGNATION MADE, REPORT TO U.S. MARSHAL IN RICHMOND

DEFT ADVISED OF RIGHT OF APPEAL within 14 days of today ( i

DEFT REMANDED TO CUSTODY ( JY

CASE SET: (2; WO BEGAN: 1:59 ENDED: 2532, TIME IN COURT: ZO
Case 4:19-cr-00047-DJN-LRL Document 1644 Filed 04/22/21 Page 2 of 3 PagelD# 10577

PAGE TWO (2)

SENTENCE TEXT

COUNT 2) IMPRISONMENT “the | | HL MOS. CONCURRENT( ) CONSECUTIVE( )
CREDIT FOR TIME SERVED ON THIS CHARGE ( we

SUPERVISED RELEASE | O YEARS

PROBATION YEARS

FINE $ ( A Fine not imposed

SPECIAL ASSESSMENT $100.00 _ due immediately

COUNT __——§.§«x IMPRISONMENT MOS. CONCURRENT( ) CONSECUTIVE( )
SUPERVISED RELEASE YEARS CONCURRENT (_)
PROBATION YEARS CONCURRENT (_)
FINE $ (_) Fine not imposed
SPECIAL ASSESSMENT $ due immediately

COUNT _—CW IMPRISONMENT MOS. CONCURRENT( ) CONSECUTIVE( )
SUPERVISED RELEASE ___ YEARS CONCURRENT(_)
PROBATION ‘YEARS CONCURRENT (_)
FINE $ ( ) Fine not imposed
SPECIAL ASSESSMENT $ due immediately

CONSENT ORDER OF FORFEITURE MADE A PART OF JUDGMENT IN CASE (_)

RESTITUTION ORDERED:

RECOMMENDATION(S) TO BOP: ZIP yeantions.L
( ) Designate dft. to a facility near family f +: Designate dft. to Cau Foe cC FCI

( HOCK Incar. on (Vocations tain ) BRAVE Program

( \/) Educational osaioeane ) BOP 500-hr intensive drug treatment program —

( UNICOR program ) with portion of earnings directed to child support

(Vj oTHER:__mentas health

Case 4:19-cr-00047-DJN-LRL Document 1644 Filed 04/22/21 Page 3 of 3 PagelD# 10578
PAGE THREE (3)

SPECIAL CONDITIONS of Probation / Supervised Release:

1) Incur no new credit without approval of probation officer
(2) Provide probation officer with access to financial information
(3) Perform community service HOURS during period of superyision
(4) Participate in drug/alcohol treatment; Pong Pay cost of treatment CF)
(5) Participate in mental health treatment; Pay cost of treatment
Participate in anger management
(6) Participate in home confinement program for __. __ with monitoring
Permitted to work, attend church, or other approved activities
Maintain telephone without special features; no cordless phone
Pay costs of electronic monitoring
(7) Placement in a Community Confinement Center for (term)
(8) Defendant to be surrendered to BICE for deportation proceedings
If deported, defendant to remain outside the United States
(10) Mandatory drug testing waived
. Probation officer may still administer drug test if deemed appropriate
(11) Pay child support in amount ordered by social services or Court
(13) Serve intermittent confinement on weekends for a period of DAYS
(14) No possession of pager, cellular telephone, or other handheld communication device
(15) Defendang shall pay any balance owed on the S/A imposed by the Court

Pay in n30(G ents of not less than $ 20.OO per month,

J, to begin 30 ( 60 ays after start of supervision until paid in full
‘ (16) Waive all rights of confidentiality regarding mental health treatment
(or other treatment) to allow release of information to Probation, etc.

(17) Commencing , and continuing for . , defendant may
operate a motor vehicle only for purposes of work and court, including travel to
the Probation Office and alcohol treatment program

(18) Defendant to apply monies received from tax refunds, lottery Winnings, and any

anticipated or unexpected financial gains to the Court-ordered financial obligation

Ze (---) Other special conditions:
GED or vocADonaL SKIWe

